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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
RICHARD LEE HARTMAN ) CASE NO.:
5635 South Avenue )
Boardman, Ohio 44512 )
) JUDGE:
Plaintiff, )
) MAGISTRATE:
)
)
VS. ) COMPLAINT
) Type: Breach of Contract;
) Breach of Warranty;
) Violation of Consumer Sales Practices
DANNY LOWRY ) Act;
140 Pine Log Rd. ) Fraud;
Beech Island, SC 29842 ) Civil Conspiracy
)
and ) JURY TRIAL REQUESTED
)
RICKY SANDERS dba )
RICKY SANDERS RACING )
6043 N. Henry Blvd., Suite H )
Stockbridge, GA 30281 )
)
and )
)
MIKE WALKER dba )
3150 RACE TRAILERS )
1490 Abbey Road )
Lewisburg, TN 37091 )
)
Defendants, )

Plaintiff, Richard Lee Hartmann (“Hartman”), for his Complaint against the Defendants,
Danny Lowry (“Lowry”), Ricky Sanders dba Ricky Sanders Racing (“Sanders”), and Mike Walker

dba 5150 Race Trailers (“5150”) states:

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PARTIES, JURISDICTION, AND VENUE

i Plaintiff is an individual who resides in the City of Canfield, Mahoning County,
Ohio.

2 Upon information and belief, Danny Lowry (“Lowry”) is an individual who is a
resident of the State of South Carolina.

3, Upon information and belief, Ricky Sanders (“Sanders’’) is an individual who is a
resident of Georgia and conducts a business under the name Ricky Sanders Racing in Stockbridge,
Georgia.

4, Mike Walker (“5150”) is an individual who is a resident of Tennessee and conducts
a business under the name of 5150 Race Trailers in Lewisburg, Tennessee.

ai Subject matter jurisdiction is proper under this Court’s diversity jurisdiction, 28
U.S.C. §1332(i)(1), because there is a diversity of citizenship between Hartman and the
Defendants; and, more than $75,000.00, exclusive of interest and cost, is in controversy.

6. There is personal jurisdiction over Lowry in this Court because Lowry has
sufficient minimum contacts with the State of Ohio; to wit, Lowry, through Sanders, marketed the
sale of'a truck and race trailer over the internet to residents of the State of Ohio, including Hartman.

7. There is personal jurisdiction over Sanders in this Court because Sanders has
sufficient minimum contact with the State of Ohio; to wit, Sanders, acting as an authorized agent
and representative of Lowry, marketed the sale of a truck and race trailer over the internet to
residents of the State of Ohio, including Hartman.

8. There is personal jurisdiction over 5150 in this Court because 5150 has sufficient

minimum contacts with the State of Ohio; to wit, Walker solicited and contracted Hartman to

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perform repairs and certain improvements to the tractor and race trailer purchased by Hartman
from Lowry.

9. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(1) because each of
the Defendants are subject to the personal jurisdiction of this Court; and, as such are deemed to
reside in this jurisdiction

FACTS APPLICABLE TO ALL CLAIMS

10. Hartman is a classic car enthusiast and collector who is also greatly interested in
racing, specifically drag racing.

11. | Hartman holds licenses and certifications issued by The National Hot Rod
Association (“NHRA”) to drag race automobiles,

12. Hartman desired to pursue his interest in drag racing and acquired a drag racing
automobile to enter into NHRA events.

13. Hartman then sought to purchase a truck and trailer to transport his drag racing
automobiles and equipment to various NHRA events.

14. Hartman researched available trucks and trailers for purchase, which eventually led
him to review trucks and trailers for sale on the website racingjunk.com

(https://www.racingjunk.com.) (See Ad from website attached as Exhibit SA")

15. Racingjunk.com offers a wide variety of products and services for sale, including
antique/classic cars and trucks, racing cars, drag racing cars, parts, trailers, and tow vehicles.
Racingjunk.com also allows various businesses to advertise their services and products on its
website. Racingjunk.com further allows individuals to sell items on the website either on their

own or with the assistance of Racingjunk.com.

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16. Sanders and 5150 offer items for sale and/or services as a member business on
racingjunk.com.

17. In November 2019, Lowry, through his authorized agent and representative,
Sanders, offered a 2008 Volvo Truck and 2008 Wildside Trailer for sale on racingjunk.com.
Through racingjunk.com, the advertisements for the sale of the Truck and Trailer was available
for review by any individual in all 50 states of the United States, including Ohio. (Exhibit “A.”)

18. Hartman discovered the advertisement for the sale of the 2008 Volvo Truck and the
2008 Wildside Trailer on racingjunk.com.

19. Sanders, as an authorized representative of Lowry, subsequently communicated
with Hartman in Ohio regarding the sale of the Truck and Trailer by Lowry to Hartman.

20. Lowry, through Sanders, represented that the Truck and Trailer were roadworthy;
the Volvo Truck only had 64,597/ 65,165 miles on it; and the Volvo Truck complied with all
applicable manufacturer's specifications for such a vehicle.

215 On November 25, 2019, Hartman and Lowry, through Sanders, entered into an
agreement for Hartman to purchase the 2008 Volvo Truck and 2008 Wildside Trailer from Lowry
for the sum of $160,000.00. Hartman wired $16,000.00 for a deposit.

22; Hartman traveled to Stockbridge, Georgia, and took possession of the Truck and
Trailer on or about December 5, 2019, to transport the Truck and Trailer back to Ohio.

23. Prior to delivery to Hartman, Lowry promised to reinstall the emissions equipment,
which had been improperly and illegally removed by Lowry.

24. Prior to the closing of the sale, Lowry communicated with Hartman regarding
several other repairs and/or services to be performed on the Truck and Trailer prior to the closing

of the sale.

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25. Once Hartman took possession of the Volvo Truck and Wildside Trailer and began
his return trip to Ohio, he experienced mechanical problems and breakdowns the entire way.

26. Hartman notified Lowry of these problems as soon as he returned to Ohio. Lowry
agreed to fix the problems.

27, On December 5, 2019, Sanders/ Lowry confirmed the emissions equipment
problem and promised any issues would be repaired. This promise was confirmed several times
by Sanders starting on December 9, 2019, with an email to Hartman and Lowry on the Trailer
problems.

28. Hartman took the Truck to a local dealer as instructed by Lowry, specifically,
R&R Truck Center 44 Victoria Rd., Youngstown, Ohio 44515. The local dealer refused to work
on the Truck because of the emissions being removed and odometer tampering. Dealer instructed
Hartman that the computer did not reflect the actual miles on the Truck. R&R instructed Hartman
that no dealer would work on the Truck because the emissions were removed and the odometer
was altered. If he broke down on the highway, he is on his own to get any repairs done.

29. Hartman notified Lowry that he had located one of the original builders of the Truck
and Trailer, specifically 5150. Lowry approved the necessary repairs at 5150 and agreed to pay
for the repairs on the Volvo Truck and Wildside Trailer.

30. After communicating with Mike Walker of 5150, Hartman delivered the Wildside
Trailer to 5150 for them to perform a series of repairs, upgrades, and improvements to the Wildside
Trailer before returning to Ohio.

31. Hartman notified Lowry through January 20, 2020, of the many problems with the

Trailer,

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32. 5150 took possession of the Trailer and promised to make approximately thirty (30)
different repairs and/or improvements to the Trailer.

33. Despite repeated requests, 5150 never completed the vast majority of the repairs
and/or improvements, as agreed. Instead, they ultimately returned the Truck and Trailer to
Hartman only partially completed.

34. Hartman subsequently discovered several of the repairs made by 5150 to the
Wildside Trailer, which rendered it illegal to operate on public highways within the United States
without an oversized/overweight permit.

35. 5150 also made changes to the wheel assemblies and axles on the vehicle rendering
them unsafe for operation under all circumstances, The improper repairs performed by 5150 has
rendered the vehicle essentially useless and unrepairable.

36. Hartman subsequently discovered that Lowry's representations, through Sanders,
regarding the mileage on the 2008 Volvo Truck were intentionally false and misleading. Hartman
discovered that the tractor trailer's actual mileage exceeded 200,000 miles, while Lowry
represented that the tractor only had 64,597/ 65,165 miles on it.

37. To date, Hartman has now expended in excess of $205,000.00 for the purchase and
repair of the 2008 Volvo Truck and 2008 Wildside Trailer; yet, neither are roadworthy and
especially not roadworthy to legally transport drag racing cars and equipment on the nation's
highways and roads.

38. Due to Lowry's misrepresentations through Sanders and the conduct of 5150,
Hartman has now expended in excess of $205,000.00 for the tractor and Trailer that are, in all

respects, useless and unfit for its intended purpose.

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COUNT ONE

(Fraudulent Misrepresentation and or Concealment by Sanders and Lowry)

39. Plaintiff incorporates the allegations contained in Paragraphs | through 38 of the

Complaint.

40. Lowry, through his authorized agent, Sanders, misrepresented and/or concealed the
mileage on the Volvo Truck and the roadworthiness of the Wildside Trailer.

41. In December 2019, the Volvo Truck's odometer represented the Truck had
64,597/65,165 miles; when in fact, the Volvo Truck had over 200,000 miles on it.

42. Defendants Lowry and/or Sanders tampered with the Volvo Truck's odometer to
hide the true mileage on the Truck to misrepresent and/or conceal the actual mileage on the Volvo
Truck from Hartman.

43. Lowry and/or Sanders misrepresented and/or concealed the mileage on the Volvo
Truck. Their representations were false; and, they knew them to be false.

44. Lowry and/or Sanders also misrepresented and/or concealed the roadworthiness of
the Truck from Hartman by claiming that the Truck was of legal height, complied with all
applicable state and federal statutes regarding emissions and pollution control equipment; and, was
ready and able to be used to transport racecars, as represented. There was no recertification by the
manufacturer or a new emission label and certification issued.

45. Lowry and Sanders intended Hartman to rely upon their intentionally false
representations and/or concealment of the true facts.

46, Hartman did reasonably rely upon Lowry and Sanders’ intentionally false

representation and/or concealment of the facts.

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47, As a direct and proximate result of Lowry and/or Sander’s fraudulent
misrepresentations and/or concealment, Hartman suffered damages in an amount in excess of
$75,000.00, exclusive of interest and costs.

COUNT TWO
(Breach of Express Warranties against Lowry and Sanders)

48. Plaintiff incorporates the allegations contained in Paragraphs | through 47 of the
Complaint.

49. Lowry and Sanders expressly warranted that the Volvo Truck had 64,597/65,165
miles on it and that the Wildside Trailer was fit for the use to haul racecars, as represented.

50. Lowry and Sanders breached their express warranties to Hartman because the
Volvo Truck had more than three times the actual miles on it then shown on the odometer, and the
Wildside Trailer was not fit to be used on the interstate highways and roads in the United States
because it was an illegal height and not capable of handling the weights of the racecars to be
hauled.

51. As a direct and proximate result of Lowry and Sander’s breach of the expressed
warranties, Hartman suffered damages in an amount in excess of $75,000.00, exclusive of costs
and interest.

COUNT THREE
(Breach of Implied Warranties against Lowry and Sanders)

52. Plaintiff incorporates the allegations contained in Paragraphs 1 through 51 of the
Complaint.
53. Lowry and Sanders implied the Volvo Truck and Wildside Trailer were fit for their

intended use of hauling race cars and equipment.

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54. Lowry and Sanders breached their implied warranty to Hartman when they sold the
Volvo Truck with more than three times the actual mileage represented on the odometer; and, the
Wildside Trailer was unfit to legally drive along the interstate highways and roads in the United
States and unfit to haul the racecars and equipment it was allegedly designed to handle.

55. As a direct and proximate result of Lowry and Sander’s breach of implied
warranties, Hartman suffered damages in an amount in excess of $75,000.00, exclusive of costs
and interest.

COUNT FOUR
(Breach of Contract against Lowry and Sanders)

56. Plaintiff incorporates the allegations contained in Paragraphs 1 through 55 of the
Complaint.

57. Lowry and Sanders breached their contract (Exhibit “B”) with Hartman by selling
a Volvo Truck in which the emissions pollution equipment, as well as the odometer, had been
illegally tampered with by Lowry and which was unfit for its intended use to haul racecars and
equipment; as represented.

58. Asadirect and proximate result of Lowy and Sander's breach of contract, Hartman

suffered damages in an amount in excess of $75,000.00, exclusive of costs and interest.

COUNT FIVE
(Violation of Consumer Sales Practices Act by Lowry and Sanders)

59. Plaintiff incorporates the allegations contained in Paragraphs | through 58 of the
Complaint.

60. Lowry and Sanders, through their advertisement on racingjunk.com, represented
that the Volvo Truck and Wildside Trailer were approved and usable as a Truck and Trailer to haul

racecars and equipment. Through their online ads at racingjunk.com, Lowry and/or Sanders knew

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that individuals, like Hartman, could not readily perform a physical inspection on the Volvo Truck
and Wildside Trailer and knew that individuals like Hartman would rely on their representations
regarding its fitness for the use to haul racecars and equipment as well as be le gally able to operate
on highways and roads in the United States,

61. Lowry and Sander's representations were deceptive, unfair, and unconscionable.

62. As a direct and proximate result of Lowry and Sander's violation of Ohio’s
Consumer Sales and Practices Act, Hartman suffered damages in an amount in excess of
$75,000.00, exclusive of interest and costs.

COUNT SIX
(Civil Conspiracy against Lowry and Sanders)

63. Plaintiff incorporates the allegations contained in Paragraphs | through 62 of the
Complaint.

64. Lowry, using Sanders as his authorized agent, maliciously conspired with Sanders
to misrepresent and/or defraud Hartman in the sale of the Volvo Truck and Wildside Trailer.

65. Lowry and Sanders made intentionally false representations and/or concealed
necessary facts in their internet advertising, which crossed state lines and constitutes wire fraud as
that term is defined under 18 U.S.C.1943.

66. As a direct and proximate result of Lowry and Sander's unlawful and malicious
civil conspiracy, Hartman has been damaged in an amount in excess of $75,000.00, exclusive of
interest and costs.

COUNT SEVEN
(Breach of Contract against 5150 Race Trailers)

67. Plaintiff incorporates the allegations contained in Paragraphs | through 66 of the

Complaint.

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68. After purchasing the race Trailer from Lowry, the Wildside Trailer was delivered
to 5150 by Hartman in order for Lowry to correct and/or fix several improper and damaged
components of the Truck and Trailer.

69. Lowry picked up the Volvo Truck from 5150 to repair illegal alterations Lowry had
previously made to the Volvo Truck, including reinstallation of the emission equipment illegally
removed from the Volvo Truck.

70. Lowry proceeded to make a series of repairs to the Volvo Truck that entirely failed,
resulting in stranding Hartman in the Truck on Tennessee's roads, far from home.

Th; 5150 agreed to perform a series of repairs and/or improvements to other equipment
on the Volvo Truck and Wildside Trailer,

72. Hartman took the Trailer to Mainline Truck and Trailer 360 Solon Rd., Cleveland,
Ohio 44146,

73: Mainline Truck and Trailer deemed the Wildside Trailer unsafe and unrepairable
due to the repairs attempted by 5150.

74. Hartman then took the Volvo Truck to Pegasus Vans and Trailers, 4003 Tiffin Ave.,
Sandusky, Ohio 44870. Pegasus is an industry expert. Pegasus deemed the Trailer unsafe and
unrepairable from 5150 repairs.

75. 5150 breached its contract by failing to properly perform and/or improperly
performing the repairs on most if not all of the items that it promised to correct and/or improve on
the Volvo Truck and Wildside Trailer.

76. As a direct and proximate result of 5150’s breach of contract, Hartman incurred
damages in excess of $75,000.00, exclusive of interest and costs; including, repairs and work

performed by 5150 in excess of $15,000.00.

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WHEREFORE, Plaintiff requests a judgment in its favor as follows:

a.

On Count 1. Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees;

On Count 2. Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees;

On Count 3: Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees;

On Count 4: Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees;

On Count 5: Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees;

On Count 6: Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees;

On Count 7: Monetary damages in excess of $75,000.00, exclusive of interest
and costs plus interest, court costs, and attorney fees; and

Any other relief the Court deems just and equitable.

Respectfully submitted,

LAW OFFICES OF
STEPHEN J. PRUNESKI, LLC

/s/ Stephen J. Pruneski

Stephen J. Pruneski (0030333)
Email: spruneski@sjp-law.com
One Cascade Plaza, Suite 1445
Akron, Ohio 44308

Telephone: (330) 436-5100
Direct: (330) 436-5102
Attorney for Plaintiff

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JURY DEMAND

Plaintiff requests a Jury Trial on all Claims.

/s/ Stephen J. Pruneski
Stephen J. Pruneski (0030333)
Attorney for Plaintiff

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we Ricky Sanders > Drag Racing

November 14, 2019 - @

2008 Volvo and 56' Wildside transporter
65,165 Both units have always been together
D16 535HP with Emission delete
Automatic transmission

Air Ride

Air Brake

Air Seats

Dinette Bunk that converts to bed

Rear door and deck to access trailer

TV

Sink with water tank

Power windows

Power Locks

Power mirrors

New windshield

New Headlights

Bridgestone 295/75R 22.5 Date code 3113
Kobota Generator

2008 Wildside 56' Living Quarters Trailer

Slide out

Full Kitchen

Full Bathroom

Bedroom with slide up roof

Screw type liftgate

New tires

57" x 25' upper deck

Screw type air compressor

A/C Throughout

Drag style pro awning

Lots of cabinets and work bench areas

Computer work area

Stereo system with PA mike and outside speakers
Lista drawer system

Fuel/Oil/Air and water tanks plumbed to outside access
Outside access/work doors with shelves, hose reals, storage access
Outside lights

Outside sink

Belly storage

Many more features. Was built for drag racing but can be used in many
applications, Very well maintained, clean and ready to go to the track.

PLAINTIFF'S
EXHIBIT

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2008 Volvo / Wildside Race Transporter Message
Stockbridge, GA

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DITA ae a
News Used 888-274-8679 Sales 2 Service

Ricky Sanders Racing Inc.

6043 N. Henry Blvd., Ste H
Stockbridge, Ga. 30281
770-506-0090Ph. ~ 770-506-0091Fax

TO: Premier Auto Sales

MEME RSME RDU

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INVOICE # 112619RSDL
DATE: NOVEMBER 26, 2019

SHIP TO;

5635 South Avenue

Boardman, Ohio 44512
| SALESPERSON | P.O. NUMBER REQUISITIONER SHIPPED VIA F.0.B, POINT TERMS
| Ricky Verbal Lee Hartman | Due on Receipt
| QUANTITY DESCRIPTION UNIT PRICE | TOTAL
ee - er ee aa . et es
| ea. 2008 Volvo Truck VIN#4V4NC9KKO8N263270

1 ea.

2008 Wildside Trailer

Make all checks payable: Ricky Sanders Racing

If you have any questions concerning this invoice, contact Ricky Sanders

VIN# 1W9SV56378F335468

$160,000.00

$160,000.00

PLAINTIFF’S
EXHIBIT

